Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 1 of 21




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

  CHRISTINA O’BRIEN, and
  MICHAEL O’BRIEN,

        Plaintiff,
  v.
  WAL-MART STORES EAST, LP,;
  JANE DOE and/or JOHN DOE,

        Defendant.
                                       /

   DEFENDANT, WAL-MART STORES EAST, L.P.’ S NOTICE OF REMOVAL

        Defendant, WAL-MART STORES EAST, L.P., (“WAL-MART”), by and

  through the undersigned counsel, and pursuant to 28 U.S.C. §§ 1332, 1441 and

  1446(b)(3), and Rule 81(c) of the Federal Rules of Civil Procedure, hereby removes

  to this Court the action filed in the 19th Judicial Circuit Court in and for Indian

  River County, Florida, Case No. 31-2020-CA-000344, with full reservation of rights,

  exceptions and defenses, and in support thereof states:

                               I. FACTUAL BACKGROUND

        1.     On May 27, 2020, Plaintiffs commenced this action by filing a

  Complaint against Wal-Mart in the 19th Judicial Circuit Court in and for Indian

  River County, Florida. See Pl.’s Compl., attached as Ex. “A.”

        2.     The initial Complaint was served on Wal-Mart on July 28, 2020. See

  Service of Process attached as Ex. “B.”

        3.     Plaintiffs residents of Indian River County, Florida. See Ex. “A” at ¶ 2.




                      150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                              TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 2 of 21




        4.     As fully discussed in detail below, Wal-Mart is a Delaware limited

  partnership. See Florida Department of State, Division of Corporations Detail by

  Entity Name attached as Ex. “C.”

        5.     Although John/Jane Doe is alleged to be a resident of Indian River

  County, Florida [See Ex. “A” at ¶ 4], the citizenship of Jane/John Doe is

  disregarding for purposes of citizenship. See 28 U.S.C. § 1441(b)(1) (stating “in

  determining whether a civil action is removable on the basis of the jurisdiction

  under section 1332(a) of this title, the citizenship of defendants sued under

  fictitious names shall be disregarded”) (emphasis added). 1

        6.     Disregarding the citizenship of Jane/John Doe in accordance with 28

  U.S.C. § 1441(b)(1), establishes that the parties are diverse. Even if this Court were

  to consider the citizenship of Jane/John Doe, the parties are still nonetheless

  diverse, as the Plaintiff has fraudulently joined Jane/John Doe for purposes to

  1 On August 26, 2020, the Plaintiffs filed, in state court, a Motion for Leave to
  Amend their Complaint for the purpose of supplementing the store manager, Youri
  Victor, for Jane/John Doe. See Amended Complaint attached as Ex. “D.” Essentially,
  Plaintiffs seek to destroy diversity jurisdiction by fraudulently joining the store
  manager, Youri Victor, to this lawsuit despite the fact that their proposed Amended
  Complaint fails to allege any ultimate facts indicating Mr. Victor actively
  participated in bringing about Plaintiff’s incident. Stillwell v. Allstate Ins. Co., 663
  F.3d 1329, 1332 (11th Cir. 2011); Henderson v. Wash. Nat’l Ins. Co., 454 F.3d 1278,
  1281 (11th Cir. 2006); Evelyne Petigny v. Wal-Mart Stores East, L.P., Case No. 18-
  23762-CIV-MORENO, ECF. No. 19, (S.D. Fla. November 14, 2018); Franco v. Wal-
  Mart Stores East, L.P., Case No. 16-20706-CIV-MORENO, ECF No. 17 (S.D. Fl.
  March 10, 2016). The same is true of the John/Jane Doe Defendants. Plaintiffs sued
  Jane/John Doe (alleged to be a store manager) for the purpose of defeating diversity
  jurisdiction. The Plaintiffs’ Motion for Leave is not yet properly before this Court as
  the Plaintiffs have not yet filed their Motion for Leave with the Federal
  Court. If, in the event that Plaintiffs file their Motion for Leave with this
  Court, Wal-Mart will file its response in opposition in accordance with the
  Southern District Local Rules.
                                                     2

                       150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                               TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 3 of 21




  destroying diversity jurisdiction. Accordingly, Jane and John Doe should be

  dismissed from the lawsuit.

         7.     Plaintiff, Christina O’Brien, alleges a claim for negligence against Wal-

  Mart as a result of injuries she allegedly sustained on May 29, 2016, when she

  slipped and fell on a liquid substance on the floor of the Wal-Mart store located at

  5555 20th Street, Vero Beach, Indian River County, Florida. See Ex. “A” at ¶¶ 5-7.

         8.     Her husband, Michael O’Brien, has filed a derivative claim for loss of

  consortium in connection with his wife’s incident. Id. at ¶ 17-19.

         9.     Plaintiffs allege that Wal-Mart negligently breached its duties owed to

  them by, inter alia, failing to maintain its premises in a reasonably safe condition

  and to warn of perils that Plaintiff could not have discovered. See Ex. “A.”

         10.    On August 26, 2020, Wal-Mart propounded its Request for Admissions

  to Plaintiff. See Ex. “E.”

         11.    On September 22, 2020, Plaintiff, Christina O’Brien, filed her

  Responses to Wal-Mart’s Request for Admissions, and admitted that damages in

  this case exceeds $75,000.00. See Ex. “F” at No. 13 and 14.

         12.    Plaintiff’s Complaint is therefore removable based on diversity of

  citizenship of the parties, and because the claimed amount in controversy is in

  excess of $75,000.00 exclusive of interest, attorney’s fees, and costs.

         13.    Venue exists in the United States District Court for the Southern

  District of Florida, because the 19th Judicial Circuit Court in and for Indian River




                                                      3

                        150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                                TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 4 of 21




  County is located within the United States District Court for the Southern District

  of Florida.

        14.     Wal-Mart attaches hereto and makes a part of this notice a copy of the

  process, pleadings, and other papers filed in the 19th Judicial Circuit of the State of

  Florida in and for Indian River County together with a docket sheet from the Clerk

  of the Court. See attached as Composite Ex. “G.”

        15.     Wal-Mart reserves the right to raise all defenses and objections in this

  action after the action is removed to this Court.

                                   II. REMOVAL IS TIMELY

        16.     On August 26, 2020, Plaintiff served Wal-Mart with her Response to

  Request for Admissions admitting that damages in this case exceed $75,000.00. See

  Ex. “F” at No. 13 and 14..

        17.     Plaintiff’s Responses to Wal-Mart’s Request for Admissions are the

  first paper from which Wal-Mart ascertained that the instant case is removable

  based on diversity jurisdiction as Plaintiff admitted that the amount in controversy

  exceeds $75,000.00. See Id.

        18.     28 U.S.C. § 1446(b)(3) authorizes Wal-Mart to remove the instant case

  within thirty days after receipt by Wal-Mart, “through service or otherwise, of a

  copy of an amended pleading, motion, order or other paper from which it may first

  be ascertained that the case is one which is or has become removable.” (emphasis

  added).




                                                     4

                       150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                               TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 5 of 21




        19.     Responses to request for admissions constitute “other paper” under §

  1446(b). See Lowery v. Alabama Power Co., 483 F.3d 1184, 1213, n. 61 (11th Cir.

  2007); Wilson v. General Motors Corp., 888 F.2d 779, 782 (11th Cir. 1989); Dukes v.

  Wal-Mart, Inc., 2018 U.S. Dist. LEXIS 204199, at *8 (M.D. Ala. November 30,

  2018); Rowe v. Swift Transp. Co. of Arizona, LLC, 2017 U.S. Dist. LEXIS 221679, at

  *3 (M.D. Fla. December 21, 2017); Pugliese v. Tex. Roadhouse, Inc., 2017 U.S. Dist.

  LEXIS 202879, at *4 (M.D. Fla. December 11, 2017); Murat v. Sam’s East, Inc.,

  2017 U.S. Dist. LEXIS 13955, at *3 (S.D. Fla. January 23, 2017); Garden Terrace

  Apts. No. 9 Ass’n v. W. Heritage Ins. Co., 2016 U.S. Dist. LEXIS 190994, at *5 (S.D.

  Fla. February 11, 2016).

        20.     In accordance with 28 U.S.C. § 1446(b)(3), Wal-Mart files this Notice of

  Removal within thirty days of the date that it received a copy of Plaintiff’s

  Responses to Wal-Mart’s Request for Admissions, which was the “other paper” that

  made it clear that removal was appropriate. See Ex. “F” at No. 13 and 14. Thus, the

  instant Notice of Removal is timely filed.

         III.    THERE IS COMPLETE DIVERSITY WITHIN THE PARTIES

        19.     Under 28 U.S.C. § 1332(a)(1), “[t]he district court shall have original

  jurisdiction of all civil actions where the matter in controversy exceeds the sum or

  value of $75,000.00, exclusive of interest and costs, and is between – citizens of

  different States.”

        20.     “[D]iversity jurisdiction is determined at the time of filing the

  complaint or, if the case has been removed, at the time of removal.” PTA-Fla, Inc. v.


                                                     5

                       150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                               TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 6 of 21




  ZTE USA, Inc., 844 F.3d 1299, 1306 (11th Cir. 2016) (citing Tillman v. R.J.

  Reynolds Tobacco, 253 F.3d 1302, 1306 n.1 (11th Cir. 2001)).

        21.    This action satisfies the complete diversity of citizenship requirement

  of 28 USC § 1332(a)(1).

     A. CITIZENSHIP OF WAL-MART STORES EAST, L.P.

        22.    At the time of the alleged incident, and at all material times, Wal-Mart

  Stores East, LP is a limited partnership which currently is, and was at the time of

  the Complaint, a Delaware Limited Partnership with its principal place of business

  in the State of Arkansas. See SunBiz Report attached as Ex. “C.” WSE

  Management, LLC is the general partner and WSE Investment, LLC is the limited

  partner of Wal-Mart Stores East, LP. These are the only partners of Wal-Mart

  Stores East, LP. WSE Management, LLC and WSE Investment, LLC were at the

  time of filing the Complaint, and still are, Delaware limited liability companies. The

  sole member of WSE Management, LLC and WSE Investment, LLC is, and was at

  the time of filing the Complaint, Wal-Mart Stores East, LLC, an Arkansas Limited

  Liability Company. The sole member of Wal-Mart Stores East, LLC is, and was at

  the time of filing the Complaint, Wal-Mart Stores, Inc. Wal-Mart Stores Inc., is, and

  was at the time of filing the Complaint, an incorporated entity under the laws of the

  State of Delaware. Wal-Mart Stores Inc., at the time the Complaint was filed and

  presently, incorporated in the State of Delaware. The principal place of business for

  all of the above mentioned entities at the time of the incident and at all material

  times, (Wal-Mart Stores East, LP; WSE Management, LLC; WSE Investment, LLC;


                                                    6

                      150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                              TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 7 of 21




  Wal-Mart Stores East, LLC; and Wal-Mart Stores, Inc.) is, and was at the time of

  filing the Complaint, Bentonville, Arkansas. At no time material has Wal-Mart

  Stores East, L.P., been a citizen of Florida.

     B. CITIZENSHIP OF PLAINTIFFS, CHRISTINA & MICHAEL O’BRIEN

        23.    Plaintiffs, Christina and Michael O’Brien, were at all times material to

  this action residents of Indian River County, Florida. See Ex. “A” at ¶ 2. “It is well

  established that a party’s residence is prima facie evidence of a party’s domicile,”

  and “[f]or purposes of diversity jurisdiction, a party’s domicile is equivalent to his

  citizenship.” Katz v. J.C. Penney Corp., 2009 WL 1532129, *3 (S.D.Fla.) (Cohn, J)

  (internal citations omitted).

        24.    Here, Plaintiffs’ Complaint states they are residents of Indian River

  County, Florida. See Ex. “A” at ¶ 2.                Plaintiffs’ Indian River County, Florida

  residence is prima facie evidence of their domicile, which is equivalent to citizenship

  for purposes of establishing diversity. See Katz, 2009 WL 1532129 at *3.

          C. CITIZENSHIP OF JANE/JOHN DOE

        25.    Plaintiffs’ Complaint alleges that Jane/John Doe (i.e. an unnamed

  store manager) is a resident of Indian River County, Florida. See Ex. “A” at ¶ 4.

  Although John/Jane Doe is alleged to be a resident of Indian River County, Florida

  [See Ex. “A” at ¶ 4], the citizenship of Jane/John Doe is disregarding for

  purposes of citizenship. See 28 U.S.C. § 1441(b)(1) (stating “in determining

  whether a civil action is removable on the basis of the jurisdiction under section

  1332(a) of this title, the citizenship of defendants sued under fictitious names shall


                                                     7

                       150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                               TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 8 of 21




  be disregarded”) (emphasis added). Accordingly, the citizenship of Jane/John Doe

  does not defeat diversity jurisdiction.

            D. EVEN IF THIS COURT WERE TO CONSIDER THE
               CITIZENSHIP OF JANE/JOHNN DOE, COMPLETE DIVERSITY
               BETWEEN THE PARTIES EXISTS BECAUSE JANE/JOHN DOE
               WAS FRAUDULENTLY JOINED TO DEFEAT DIVERSITY
               JURISDICTION, AND THUS, SHOULD BE DISMISSED FROM
               THIS LAWSUIT.

           26.   The   citizenship       of    co-defendant,          Jane/John          Doe,   should   be

  disregarded all together, in accordance with 28 U.S.C. § 1441(b)(1). On that

  basis alone, the citizenship of Jane/John Doe does not defeat diversity jurisdiction.

           27.   However, even if this Court were to consider the citizenship of co-

  defendant Jane/John Doe, diversity among the parties is not destroyed as

  Jane/John Doe was fraudulently joined to defeat diversity jurisdiction, and thus,

  should be dismissed from this lawsuit.

           28.   Jane/John Doe was fraudulently joined in an attempt to destroy

  otherwise valid diversity jurisdiction. Stillwell v. Allstate Ins. Co., 663 F.3d 1329,

  1332 (11th Cir. 2011); Henderson v. Wash. Nat’l Ins. Co., 454 F.3d 1278, 1281 (11th

  Cir. 2006); Evelyne Petigny v. Wal-Mart Stores East, L.P., Case No. 18-23762-CIV-

  MORENO, ECF. No. 19, (S.D. Fla. November 14, 2018); Franco v. Wal-Mart Stores

  East, L.P., Case No. 16-20706-CIV-MORENO, ECF No. 17 (S.D. Fl. March 10,

  2016).

           29.   Courts routinely disregard the citizenship of fraudulently joined

  parties when determining whether diversity jurisdiction exists. Stillwell v. Allstate

  Ins. Co., 663 F.3d at 1332. A defendant seeking to prove that a co-defendant was

                                                      8

                        150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                                TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 9 of 21




  fraudulently joined must demonstrate by clear and convincing evidence either that:

  (1) there is no possibility the plaintiff can establish a cause of action against the

  resident defendant; or (2) the plaintiff has fraudulently plead jurisdictional facts to

  bring the resident defendant into the state court. See Stillwell, 663 F.3d at 1332;

  Henderson, 454 F.3d at 1281.

          30.   The determination of whether the resident defendant has been

  fraudulently joined must be based upon the plaintiff’s pleadings at the time of

  removal, supplemented by any affidavits submitted by the parties. See Pacheco de

  Perez v. AT&T Co., 139 F.3d 1368, 1380 (11th Cir. 1998).

          31.   The issue of whether there is no possibility the plaintiff can establish a

  cause of action against the resident defendant turns on whether liability can be

  imposed on the resident defendant. Hunt v. Target Corp., Case No. 14-80266-CIV,

  2014 U.S. Dist. LEXIS 54179, at *3-5 (S.D. Fla. Apr. 18, 2014); Tynes v. Target

  Corp., Case No. 12-24302-CIV, 2013 U.S. Dist. LEXIS 40355, at *4-5 (S.D. Fla. Mar.

  22, 2013). If a defendant shows that “there is no possibility that plaintiff can

  establish a cause of action against the resident defendant . . . the federal court must

  dismiss the non-diverse defendant and deny any motion to remand the matter back

  to state court.” Florence v. Crescent Resources, LLC, 484 F.3d 1293, 1297 (11th Cir.

  2007)

          32.   Under Florida law, “a corporate agent or employee may not be held

  personally liable simply because of his general administrative responsibility or

  performance of some function of his employment – he or she must be actively


                                                     9

                       150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                               TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 10 of 21




  negligent.” Id (quoting McElveen v. Peeler, 554 So.2d 270, 272 (Fla. 1st DCA 1989);

  see also Niurka De Varona v. Discount Auto Parts, LLC., 860 F. Supp. 2d 1344, 1348

  (S.D. Fla. 2012) (quoting Orlovsky v. Solid Surf., 405 So.2d 1363, 1364 (Fla. 4th

  DCA 1981) (“[i]t is well established under Florida law that [a store manager] does

  not incur personal liability for the corporation’s tort merely by reason of the

  officer’s official character”)).

        33.    In Tynes, the plaintiff, a Florida citizen, filed a complaint in state court

  alleging negligence against Target Corporation, a Minnesota citizen, and an

  unnamed employee, John Doe, arising from a slip and fall incident inside a Miami

  Target store. Tynes, 2013 U.S. Dist. LEXIS 40355, at *1. The defendant removed

  the case seeking to invoke diversity jurisdiction. Id at *1. Plaintiff moved to remand

  the case because the plaintiff identified through discovery the identity of John

  Doe—Target employee Wilbert A. Hernandez—and claimed that he was a resident

  of Miami-Dade County. Id at *2. In denying plaintiff’s motion to remand, the court

  found there was little possibility that the plaintiff could prove a cause of action for

  negligence against Mr. Hernandez because the plaintiff failed to allege any

  individual duty was owed or that the tort in question was committed in the store

  manager’s individual capacity. Id. at *4-6.

        34.    In Niurka De Varona, the plaintiff, a Florida citizen, filed a negligence

  claim against Advance Auto Parts, a Virgina Corporation. Niurka De Varona, 860 F.

  Supp. 2d at 1345. Plaintiff amended her complaint and named the store manager, a

  Florida resident, as a joint defendant asserting a separate count of negligence


                                                    10

                       150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                               TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 11 of 21




  against the store manager. Id. Specifically, the plaintiff alleged the store manager

  had a duty to use ordinary care to maintain the store premises in a reasonable safe

  condition and was negligent by failing to remove the dangerous condition or warn

  the plaintiff of it. Id. Thereafter, the defendant removed the case arguing the

  citizenship of the store manager should be disregarded because he was fraudulently

  joined solely to avoid federal jurisdiction. Id. at 1346. In support of its notice of

  removal, Advance Auto Parts presented an affidavit from the store manager

  denying any personal responsibility for the plaintiff’s incident, attesting that he was

  not in the parking lot when the alleged accident occurred, that he could not see the

  parking lot from his vantage point in the store, and that he had no knowledge of

  any hazardous condition in the parking lot on the date of the incident. Id. The court

  denied the plaintiff’s motion to remand the stating “plaintiff has provided no facts

  showing that [the store manager] played any role in her injuries” and that a store

  manager does not incur personal liability for a corporation’s torts merely

  by reason of the store manager’s official title. See id. (citing Orlovsky, 405 So.

  2d at 1364).

        35.      Similarly, in Pritchard, the court also denied plaintiff’s motion to

  remand because the plaintiffs failed to point to any evidence in support of their

  claim that the store manager was actively negligent. Pritchard v. Wal-Mart Stores,

  Inc., Case No. 8:09-cv-46, 2009 U.S. Dist. LEXIS 18593, at *7. In Pritchard, the

  plaintiffs filed suit against defendants Wal-Mart and one of its store manager in

  state court alleging claims of negligence and loss of consortium. Id. at *1. The


                                                     11

                        150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                                TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 12 of 21




  plaintiffs alleged the store manager owed a duty to plaintiffs to exercise reasonable

  care in the maintenance, inspection, repair, warning, and mode of operation of the

  premises, 2 and the store manager breached those duties by acting negligently in

  falling to exercise reasonable care in the maintenance, inspection, repair, warning,

  and mode of operation of the premises. Id. Wal-Mart removed the case based upon

  diversity jurisdiction despite the Florida citizenship of the store manager pursuant

  to the fraudulent joinder doctrine. Id. Thereafter, the store manager filed a motion

  to dismiss based on fraudulent joinder. Id. The defendants submitted a declaration

  from the store manager, in which she stated she had no prior knowledge of the

  dangerous condition, and no one, including customers from her store, notified her of

  the dangerous condition prior to the plaintiff’s incident. Id. at *2. Wal-Mart

  submitted evidence that the store manager was not personally involved in the

  incident at issue, and as such, the store manager could not be found to be actively

  negligent. Id. at *3. The court agreed with Wal-Mart that the store manager was

  fraudulently joined as a defendant because the plaintiffs could not establish that

  the store manager was personally at fault for the plaintiffs' injuries as there was no

  evidence to support that the store manager was actively negligent. Id. The court

  denied the plaintiffs’ motion to remand and granted the store manager’s motion to

  dismiss. Id.



  2 Under Florida law, negligent mode of operation claims based upon transitory
  foreign substances are no longer a viable cause of action since the enactment of
  Florida Statute section 768.0755. See Pembroke Lakes Mall Ltd. v. McGruder, 137
  So. 3d 418 (Fla. 4th DCA 2014). To be clear, Pritchard did not involve a transitory
  foreign substance.
                                                   12

                      150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                              TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 13 of 21




        36.    Further, in Evelyne Petigny v. Wal-Mart Stores East, L.P., and Franco

  v. Wal-Mart Stores East, L.P., Judge Moreno dismissed the store employees who

  had been sued in their capacity as Wal-Mart managers on the basis that Plaintiff

  failed to allege any facts that the store managers were actively negligent (i.e.

  actively participated in braining about the plaintiff’s incident. See Evelyne Petigny

  v. Wal-Mart Stores East, L.P., Case No. 18-23762-CIV-MORENO, ECF. No. 19,

  (S.D. Fla. November 14, 2018); Franco v. Wal-Mart Stores East, L.P., Case No. 16-

  20706-CIV-MORENO, ECF No. 17 (S.D. Fl. March 10, 2016).

        37.    Similarly, in Edman v Wal-Mart, the plaintiff alleged that she was

  struck in the back by a stock cart while she was shopping at a Wal-Mart store.

  Edman v Wal-Mart Stores East, L.P., Case No. 9:19-CV-80356-DMM, at D.E. 20 and

  DE. 21, (S.D. Fla. May 6, 2019). The plaintiff sued both Wal-Mart and the store

  manager, Michael Gillespie. Id. The Honorable Judge Middlebrooks granted

  Michael Gillespie’s Motion to dismiss [at D.E. 21] as the plaintiff’s complaint failed

  to allege that Michael Gillespie actively participated in bringing about the

  Plaintiff’s incident, and subsequently denied Plaintiff’s Motion to Remand. Edman v

  Wal-Mart Stores East, L.P., Case No. 9:19-CV-80356-DMM, at DE. 21, (S.D. Fla.

  May 6, 2019).

        38.    Similarly, in Roman v. Wal-Mart Stores East, L.P., Case No. 9:20-cv-

  80869-SMITH, at D.E. 10 (M.D. Fla. September 1, 2020), the court denied plaintiff’s

  motion to remand and dismissed the store manager, Charles Coleman, from the

  lawsuit finding that he was fraudulently joined to defeat diversity jurisdiction as


                                                   13

                      150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                              TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 14 of 21




  the complaint failed to allege any facts that Charles Coleman actively participated

  in bringing about plaintiff’s incident.

        39.    In the instant case, although Plaintiffs allege that Jane/John Doe is a

  store manager at the subject Wal-Mart store where the Plaintiff’s incident allegedly

  occurred, there is no possibility that Plaintiff can prove a cause of action for

  negligence against Jane/John Doe because there are no allegations contained in the

  Complaint which indicate that Jane/John Doe was actively negligent and/or actively

  and personally involved in bringing about Plaintiff’s incident. See Niurka De

  Varona, 860 F. Supp. 2d at 1347; Pritchard, 2009 U.S. Dist. LEXIS 18359, at *7;

  Evelyne Petigny v. Wal-Mart Stores East, L.P., Case No. 18-23762-CIV-MORENO,

  ECF. No. 19, (S.D. Fla. November 14, 2018); Franco v. Wal-Mart Stores East, L.P.,

  Case No. 16-20706-CIV-MORENO, ECF No. 17 (S.D. Fl. March 10, 2016); Roman v.

  Wal-Mart Stores East, L.P., Case No. 9:20-cv-80869-SMITH, at D.E. 10 (M.D. Fla.

  September 1, 2020).

        40.    Most importantly, Plaintiffs’ Complaint fails to allege any facts that

  Jane/John Doe personally committed an act of negligence and/or participated in the

  alleged tort, and did not play any role in Plaintiff, Christina O’Brien’s, alleged

  injuries as Jane/John Doe is not alleged to have:

         a.    witnessed the incident,
         b.    personally participated in the events leading up to Plaintiff’s alleged
  incident and/or individually engaged in tortious conduct,
         c.    placed the alleged slippery substance on the floor,
         d.    had knowledge of the alleged slippery substance on the floor,
         e.    observed the alleged slippery substance on the floor,
         f.    caused the alleged slippery substance to be on the floor, and/or


                                                     14

                        150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                                TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 15 of 21




         g.    had any knowledge pertaining to the identity of the individual who
  allegedly caused the alleged slippery substance to be on the floor.

        41.    Therefore, John/Jane Doe is not alleged to have had any knowledge of

  the alleged dangerous condition prior to Plaintiff’s incident, and had no involvement

  therewith. See id.; see also Niurka De Varona, 860 F. Supp. 2d at 1347; Pritchard,

  2009 2009 U.S. Dist. LEXIS at *7; Evelyne Petigny v. Wal-Mart Stores East, L.P.,

  Case No. 18-23762-CIV-MORENO, ECF. No. 19, (S.D. Fla. November 14, 2018);

  Franco v. Wal-Mart Stores East, L.P., Case No. 16-20706-CIV-MORENO, ECF No.

  17 (S.D. Fl. March 10, 2016); Roman v. Wal-Mart Stores East, L.P., Case No. 9:20-

  cv-80869-SMITH, at D.E. 10 (M.D. Fla. September 1, 2020).

        42.    Essentially, Plaintiffs have added Jane/John Doe because Plaintiffs

  have discovered he was an employee/manager at the store. As discussed above, this

  is contrary to Florida law.

        43.    This is particularly event in light of the fact that Plaintiffs’ Complaint

  fails to allege any facts indicating Jane/John Doe was actively negligent by

  actively participating in and committing any tort to cause Plaintiff, Christina

  O’Brien’s, incident. Instead, the Plaintiffs merely alleges Jane/John Doe was a

  manager at the store, yet to fails to allege that Jane/John Doe actively participated

  in bringing about Plaintiff, Christina O’Brien’s, incident.

        44.    After disregarding the fraudulently joined Defendant (i.e. Jane/John

  Doe), there can be no dispute that the citizenship of the Parties is diverse.




                                                    15

                       150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                               TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 16 of 21




                           IV. AMOUNT IN CONTROVERSY

      45. The amount in controversy exceeds $75,000.00. Although Plaintiffs’

  Complaint does not specify an amount in controversy other than the state court

  $30,000.00 jurisdictional minimum, Plaintiff’s Responses to Wal-Mart’s Request for

  Admissions [See Ex. “F” at No. 13 and 14], evidences that damages in this case

  exceeds the jurisdictional minimum in this Court of $75,000.00.

        46.    The well-established rule adopted by the Eleventh Circuit states that a

  removing party can offer its own affidavits, declarations, or other documentation to

  establish federal removal jurisdiction and there is no limitation on the type of

  evidence that a defendant could offer once it timely files a notice of removal. See

  Pretka v. Kolter City Plaza, II, Inc., 608 F.3d 759 (11th Cir. 2010) (discussing the

  binding law in the Eleventh Circuit that a defendant may submit a wide range of

  evidence in order to satisfy the jurisdictional requirements of removal) (emphasis

  added); Williams v. Best Buy Co., Inc., 269 F.3d 1316, 1319 (11th Cir. 2001).

        47.    Where like here, the jurisdictional amount is not facially apparent on

  the face of Plaintiffs’ Complaint; the court will look to the notice of removal and any

  accompanying documents relevant to the amount in controversy at the time the case

  was removed. Pretka, 608 F.3d at 759; Williams, 269 F.3d at 1319; see also, Tapscott

  v. MS Dealer Service Corp., 77 F.3d 1353, 1357 (11th Cir. 1996) 3 (discussing that

  when a plaintiff makes “an unspecified demand for damages in state court, a

  removing defendant must prove by a preponderance of the evidence that the


  3Abrogated on other grounds by Cohen v. Office Depot, Inc., 204 F.3d 1069 (11th
  Cir. 2000).
                                                    16

                       150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                               TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 17 of 21




  amount in controversy more likely than not exceeds the . . . jurisdictional

  requirement).

        48.     Moreover, Eleventh Circuit precedent permits district courts to use

  their judicial experience and common sense in determining whether the case stated

  in a complaint meets federal jurisdictional requirements. Roe v. Michelin N. Am.,

  Inc., 613 F.3d 1058, 1062 (11th Cir. 2010) (quoting Pretka, 608 F.3d at 754).

  Furthermore, a removing defendant, is not required to prove the amount in

  controversy beyond all doubt or to banish all uncertainty about it. See Pretka, 608

  F.3d at 754. Thus, all that is required is that Wal-Mart show, by a preponderance of

  the evidence, that the amount in controversy in the instant case exceeds $75,000.00.

  Id. at 752.

        49.     Additionally, a district court may consider the complaint and any later

  received paper from the plaintiff as well as the notice of removal and accompanying

  documents when deciding upon a motion to remand. See Katz, 2009 WL 1532129 at

  *4 (citing Lowery v. Alabama Power Co., 483 F.3d 1184, 1213-1214 (11th Cir. 2007)).

  Also, “a district court may consider evidence outside of the removal petition if the

  facts therein existed at the time of removal.” Id (citing Williams v. Best Buy Co., 269

  F.3d 1316, 1320 (11th Cir. 2001) and Sierminski v. Transouth Financial Corp., 216

  F.3d 945, 949 (11th Cir. 2000)).

        50.     Similarly, the Eleventh Circuit Court has held that responses to

  discovery, deposition transcripts, and other documents can constitute and be

  considered the “other paper” pursuant to, and required by, 28 U.S.C. § 1446(b)(3).


                                                    17

                       150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                               TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 18 of 21




  See Wilson v. General Motors Corp., 888 F.2d 779, 780 (11th Cir. 1989) (discussing

  that plaintiff’s response to defendant’s requests for admissions was the “paper from

  which it [was] first ascertained that the case [was] one which is or has become

  removable” pursuant to 28 U.S.C. § 1446(b)(3)); Lowery v. Alabama Power Co., 483

  F.3d 1213, n. 61 (noting that a number of documents have been judicially recognized

  as such, including interrogatory responses).

        51.    Applying this principle, the District Courts contain numerous cases

  wherein removal was directly based on the plaintiff’s admission that the amount in

  controversy exceeded $75,000.00. See Berman v. Target, 2015 U.S. Dist. LEXIS

  190144 (S.D. Fla. December 16, 2015); Monserrate v. Target Corp., 2014 U.S. Dist.

  LEXIS 193068 (S.D. Fla. April 7, 2014); Bencosme v. Target Corp., 2013 U.D. Dist.

  LEXIS 192025 (S.D. Fla. October 16, 2013); Wilson v. Target Corp., 2010 U.S. Dist.

  LEXIS 96399 (S.D. Fla. September 14, 2010).

        52.    Accordingly, this Court may look to Plaintiff’s discovery responses

  when determining that the amount in controversy exceeds $75,000.00 for purposes

  of removal based on diversity jurisdiction.

        53.    In this case, Plaintiff’s Responses to Wal-Mart’s Request for

  Admissions and the allegations of the Complaint conclusively establish that the

  amount in controversy exceeds the $75,000.00 jurisdictional threshold. See Ex. “A”

  at ¶ 1; Ex. “F” at No. 13 and 14. The Court has the authority to rely on Plaintiff’s

  admission as proof that the jurisdictional limit has been met.




                                                    18

                       150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                               TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 19 of 21




        54.    Based on the foregoing, Wal-Mart has established that damages in this

  case exceed $75,000.00 by Plaintiff’s own admission. Additionally, Plaintiffs’

  Complaint, [See Ex. “A” at ¶ 11], claims loss wages of an unknown quantity, past

  medical expenses, and past and future pain and suffering of an unknown quantity.

  As such, removal is proper.

                                       V. CONCLUSION

        This action is removable pursuant to 28 U.S.C. §§ 1332, 1441 and 1446(b)(3)

  because there exists complete diversity in this matter as:

        1.     The Plaintiffs and Wal-Mart are citizens of different states,

        2.     The citizenship of citizenship of Jane/John Doe is disregarded in

               accordance with 28 U.S.C. § 1441(b)(1); thereby, establishing that the

               parties are diverse. Even if this Court were to consider the citizenship

               of Jane/John Doe, the parties are nonetheless diverse, as the Plaintiff

               has fraudulently joined Jane/John Doe for purposes to destroying

               diversity jurisdiction. Accordingly, Jane and John Doe should be

               dismissed from the lawsuit,

        3.     The amount in controversy exceeds $75,000.00 exclusive of interest,

               fees, and costs as the Plaintiff, Christina O’Brien, admitted that

               damages exceed $75,000.00.

        Upon filing of this Notice of Removal, Wal-Mart will promptly give written

        notice to Plaintiff and to the Clerk of the Circuit Court for the 19th Judicial

        Circuit in and for Indian River County, Florida.


                                                   19

                      150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                              TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 20 of 21




        WHEREFORE, Defendant, Wal-Mart Stores Eat, L.P., respectfully requests

  the Notice of Removal be accepted as good and sufficient as required by law, and

  that the aforesaid action, case number Case No. Case No. 31-2020-CA-000344, be

  removed to the United States District Court for the Southern District of Florida,

  and that this Court assume full and complete jurisdiction thereof and issue all

  necessary orders and grant all general equitable relief to which Wal-Mart is

  entitled.

        Dated: October 21, 2020

                                        Respectfully Submitted,

                                        /s/ Patricia Concepcion
                                        Jerry D. Hamilton
                                        Florida Bar No.: 970700
                                        jhamilton@hamiltonmillerlaw.com
                                        Patricia Concepcion
                                        Florida Bar No.109058
                                        pconcepcion@hamiltonmillerlaw.com
                                        HAMILTON, MILLER & BIRTHISEL, LLP
                                        150 Southeast Second Avenue, Suite 1200
                                        Miami, Florida 33131
                                        Telephone: (305) 379-3686
                                        Attorneys for Defendant, Wal-Mart Stores East, L.P.

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 21, 2020, I electronically filed the

  foregoing document with the Clerk of Court using the E-Filing Portal. I also certify

  that the foregoing document is being served this day on all counsel of record or pro

  se parties identified on the attached Service List by electronic mail.

                                                          /s/ Patricia Concepcion
                                                          Patricia Concepcion, Esq.


                                                    20

                       150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                               TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
Case 2:20-cv-14375-AMC Document 1 Entered on FLSD Docket 10/21/2020 Page 21 of 21




                                            SERVICE LIST

Attorneys for Plaintiff

Scott Wright, Esq.
The Wright Law Group
2290 W. Eau Gallie Blvd.
Suite,212
Melbourne, FL 32935




                                                       21

                          150 SOUTHEAST SECOND AVENUE, SUITE 1200 · MIAMI, FLORIDA 33131
                                  TELEPHONE: 305-379-3686 · FACSIMILE: 305-379-3690
